                                           Case 3:20-cv-05864-RS Document 11 Filed 08/21/20 Page 1 of 1




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                                   7                                 UNITED STATES DISTRICT COURT

                                   8                                NORTHERN DISTRICT OF CALIFORNIA

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                                        DILBAGH SINGH,
                                  10                                                       Case No. 20-cv-05864-RS
                                                       Plaintiff,
                                  11
                                                v.                                         ORDER TO SHOW CAUSE
                                  12
Northern District of California
 United States District Court




                                        DAVID W. JENNINGS, et al.,
                                  13
                                                       Defendants.
                                  14

                                  15          Having considered the pleadings and documents on file in this matter, and good cause

                                  16   having been shown in petitioner’s Application for Order to Show Cause Pursuant to 28 U.S.C. §

                                  17   2243 and Petition for Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2241, petitioner’s

                                  18   Application for Order to Show Cause is hereby GRANTED.

                                  19          IT IS THEREFORE ORDERED that respondents shall file a return on this Order by

                                  20   August 28, 2020. Petitioner shall have an opportunity to file a reply or traverse within three days

                                  21   of the filing of respondents’ return. The matter will then be taken under submission. Petitioner is

                                  22   ordered to serve copies of his habeas corpus petition and this Order on respondents forthwith.

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                                  24   IT IS SO ORDERED.

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                                  26   Dated: August 21, 2020

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                                                                                        RICHARD SEEBORG
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